The statute requires the state highway commissioner to issue drivers' licenses upon proper application, and authorizes two county officials — the clerk of the district court and the sheriff — to receive and accept applications, the applicant paying such officials a fee of ten cents for the service. These officials need not perform the service. It is optional with them. As such clerk, or as such sheriff, he takes the application and accepts the fee.
We need not shut our eyes to the actual situation which as sensible men we know exists. It is needless to point out that such county time, county equipment (and doubtless county employees, such as clerks) as are necessary, are all utilized. The fee of ten cents is paid for the service and to cover the cost. If he were not clerk of court or the sheriff, he could not accept the application. It is a fee which he receives for the service he renders because he happens to be clerk or sheriff, as the case may be. Therefore, I can not agree with the opinion of the majority. *Page 25 